          Case 19-11098            Doc 26       Filed 06/02/19 Entered 06/03/19 00:47:30                         Desc Imaged
                                                Certificate of Notice Page 1 of 2
                                               United States Bankruptcy Court
                                                 District of Massachusetts
In re:                                                                                                     Case No. 19-11098-fjb
Kathleen Marie Rennie                                                                                      Chapter 7
         Debtor
                                                 CERTIFICATE OF NOTICE
District/off: 0101-1                  User: corozco                      Page 1 of 1                          Date Rcvd: May 31, 2019
                                      Form ID: pdf012                    Total Noticed: 1


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Jun 02, 2019.
db            #+Kathleen Marie Rennie,   34 Lynch Lane,   Harwich, MA 02645-1651

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
NONE.                                                                                       TOTAL: 0

             ***** BYPASSED RECIPIENTS *****
NONE.                                                                                                               TOTAL: 0

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Transmission times for electronic delivery are Eastern Time zone.

Addresses marked ’#’ were identified by the USPS National Change of Address system as requiring an update.
While the notice was still deliverable, the notice recipient was advised to update its address with the court
immediately.


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: Jun 02, 2019                                            Signature: /s/Joseph Speetjens

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                                      CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on May 31, 2019 at the address(es) listed below:
              David B. Madoff   on behalf of Trustee David B. Madoff madoff@mandkllp.com, alston@mandkllp.com
              David B. Madoff   alston@mandkllp.com, MA28@ecfcbis.com
              Dax B. Grantham   on behalf of Debtor Kathleen Marie Rennie notices@grantham.law,
               granthamdr78384@notify.bestcase.com
              John Fitzgerald    USTPRegion01.BO.ECF@USDOJ.GOV
              Marcus Pratt    on behalf of Creditor   U.S. Bank National Association, as Trustee for GSAA Home
               Equity Trust 2007-1, Asset-Backed Certificates, Series 2007-1 bankruptcy@KORDEASSOC.COM
              Zoh Nizami    on behalf of Creditor   U.S. Bank National Association, as Trustee for GSAA Home
               Equity Trust 2007-1, Asset-Backed Certificates, Series 2007-1 bankruptcy@kordeassociates.com
                                                                                            TOTAL: 6
    Case 19-11098        Doc 26 UNITED
                                Filed 06/02/19     Entered 06/03/19 00:47:30
                                         STATES BANKRUPTCY COURT
                                                                                 Desc Imaged
                                Certificate of Notice Page 2 of 2
                                     DISTRICT OF MASSACHUSETTS
                                    Proceeding Memorandum/Order

In Re: Kathleen Marie Rennie                                        Case/AP Number 19-11098 -FJB
                                                                    Chapter 7

       #17 Application filed by Trustee David B. Madoff to Employ Madoff & Khoury LLP as Counsel




COURT ACTION:
_________Hearing held
_________Granted      __________ Approved ___________ Moot
_________ Denied      __________ Denied without prejudice    __________Withdrawn in open court
_________ Overruled __________ Sustained
_________Continued to___________________________________________________________________________
_________Proposed order to be submitted by _____________________________________________________
_________Stipulation to be submitted by_________________________________________________________
_________No appearance by ______________________________________________________________________
Show Cause Order      __________Released   ___________Enforced

DECISION SET OUT MORE FULLY BY COURT AS FOLLOWS:

No objection filed.     Granted.




                                           IT IS SO ORDERED:




                                                                                  05/31/2019
                                           ________________________________Dated:________
                                           Frank J. Bailey
                                           United States Bankruptcy Judge
